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lN THE UNITED STATES DISTRICT COURT - U.C.

FoR THE WESTERN DISTRICT oF TENNESSEE 95 JUL
WESTERN DlvisloN 2 7 PH != th

 

 

UNITED sTATEs 0F AMERICA
v. 05-20264-¢ b

TAMMY McCANN

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Qq,£h, o? 2 62 play , the United States Attorney
for this district appeared on behalf of the é{)vernélient, and the defendant appeared in person and With
counsel:

NAME )Q€(/VM£({?! MM` C/;_/OA> who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered aplea of not guilty.

 

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shcyo a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

/O.// m /*/ Z”['W

UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:641 & 2;

U. S. Attomey assigned to Case: S. Parker

Age: %é

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This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20264 Was distributed by faX, mail, or direct printing on
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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

